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           EXHIBIT 6
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    From:            Gabrielle E. Tenzer
    To:              hoppe.ecf@vawd.uscourts.gov; KarenD@vawd.uscourts.gov
    Cc:              David Campbell; isuecrooks@comcast.net; James Kolenich; Bryan Jones; John DiNucci; lisa_lorish@fd.org;
                     Roberta Kaplan; Julie Fink; Levine, Alan; Mills, David; Bowman, Philip M.; Rottenborn, Ben; Karen Dunn; Jessica
                     Phillips; William Isaacson
    Subject:         Sines v. Kessler, Case No. 17 Civ. 72
    Date:            Wednesday, February 6, 2019 7:04:33 PM


    Dear Judge Hoppe:

    As Your Honor encouraged us to do during the January 4, 2019 telephonic conference, we are once
    again writing to provide a status update and to seek the Court’s assistance with outstanding
    discovery items.

    Although we have received and are still receiving information from Discord thanks in large part to
    the Court’s intervention with respect to obtaining Defendants’ SCA consents, we still have received
    precious few documents from the Defendants themselves. We have yet to receive a single page
    from 9 of the 18 Defendants who remain in the case (not including Defendant Fields, who is
    incarcerated). Other than Defendant Kessler, the productions we have received thus far from the
    Defendants who have produced documents have been meager, to say the least. And it is not for lack
    of trying on Plaintiffs’ part. Plaintiffs’ document requests were originally served over a year ago, on
    January 25, 2018. On November 13, 2018, nearly three months ago, the Court granted Plaintiffs’
    Motion to Compel Defendants to Permit Inspection and Imaging of Electronic Devices. Plaintiffs
    raised the issue of the Third Party Discovery Vendor Contract on the call with the Court on January 4,
    2019, as well as in a January 16, 2019 email to the Court. Yet to date, Defendants have not agreed
    to the Third Party Discovery Vendor Contract that Plaintiffs sent to them over a month ago, on
    December 28, 2018. The parties have made progress in coming to an agreement on the contract,
    but Plaintiffs and the vendor are still waiting to hear back from Defendants on one outstanding issue
    concerning indemnification.

    While Plaintiffs have been trying to avoid involving the Court again, it appears that a call is needed to
    ensure that this process moves forward more expeditiously. Accordingly, we request a conference
    with the Court to seek an order that a Third Party Discovery Vendor Contract be executed by a date
    certain and that, upon execution of the contract, Defendants be required to immediately tender
    their devices to the vendor for imaging and to complete all other aspects of the document
    production process also by a date certain. For obvious reasons, and consistent with due process,
    Plaintiffs do not want to notice Defendants’ depositions before receiving their documents. Given the
    current fact discovery cutoff of April 17, 2019, it is not clear how this can all happen without further
    intervention from the Court, including the possible imposition of sanctions for any further non-
    compliance.

    Plaintiffs can be available for a conference with the Court on Monday or Tuesday of next week,
    February 11 or 12. We appreciate Your Honor’s consideration of this request.

    Respectfully submitted,
    Gabrielle E. Tenzer
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